UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                x
                                :
                                :   Consolidated Case No. 1:16-cv-06593 (JSR)
In re: AMLA LITIGATION          :
                                :
                                :
                                :
                                :
                                x


    DECLARATION OF MICHAEL H. ROSNER IN SUPPORT OF PLAINTIFFS’
      MOTION FOR CLASS CERTIFICATION, APPOINTMENT OF CLASS
       REPRESENTATIVES, AND APPOINTMENT OF CLASS COUNSEL
       I, Michael H. Rosner, declare as follows:

       1.      I am an attorney licensed to practice in the State of New York and I am a partner at

Levi & Korsinsky, LLP, and I am Co-Lead Interim Class Counsel for Plaintiffs. I make this

declaration in support of Plaintiffs’ Motion for Class Certification, Appointment of Class

Representatives, and Appointment of Class Counsel. I have personal knowledge of the facts set

forth in this declaration, and if called to testify thereto, I could and would competently testify

thereto under oath.

       2.      Attached hereto as Exhibit No. 1 is a true and correct copy of the Expert Witness

Report of Mr. Patrick Obukowho.

       3.      Attached hereto as Exhibit No. 2 is a true and correct copy of excerpts from a

document titled, “Executive Report Q4 2014,” produced by Defendants.

       4.      Attached hereto as Exhibit No. 3 is a true and correct copy of an email chain

produced by Defendants dated July 8-9, 2015.

       5.      Attached hereto as Exhibit No. 4 is a true and correct copy of the condensed

deposition transcript of Barbara Mitchell, Defendants’ Rule 30(b)(6) designee, taken on August 2,

2017 (“Mitchell Deposition”).

       6.      Attached hereto as Exhibit No. 5 is a document produced by Defendants relating

to the images and language on the packaging of the product at issue and comments thereto. This

documents was marked as Exh. 7 to the Mitchell Deposition.

       7.      Attached hereto as Exhibit No. 6 is a document produced by Defendants relating

to the images and language on the packaging of the product at issue and comments thereto. This

documents was marked as Exh. 8 to the Mitchell Deposition.




                                               -1-
          8.    Attached hereto as Exhibit No. 7 is a document produced by Defendants relating

to the images and language on the packaging of the product at issue and comments thereto. This

documents was marked as Exh. 9 to the Mitchell Deposition.

          9.    Attached hereto as Exhibit No. 8 is a true and correct copy of an email chain

produced by Defendants dated January 31, 2015. This document was marked as Exhibit 16 to the

Mitchell Deposition.

          10.   Attached hereto as Exhibit No. 9 is a true and correct copy of an email produced

by Defendants dated October 28, 2016, with highlighting added by my Firm. This document was

marked as Exhibit 20 to the Mitchell Deposition.

          11.   Attached hereto as Exhibit No. 10 are true and correct copies of excerpts from

images of the Product’s label (i.e., Exhibit No. 9), that my Firm magnified for purposes of ease of

review.

          12.   Attached hereto as Exhibit No. 11 is a true and correct copy of the instructions

produced by Defendants for the Amla Legend Rejuvenating Ritual, with highlighting added by my

Firm. This document was marked as Exh. 22 to the Mitchell Deposition.

          13.   Attached hereto as Exhibit No. 12 is a true and correct copy of an email chain

produced by Defendants dated July 1, 2015. This document was marked as Exhibit 38 to the

Mitchell Deposition.

          14.   Attached hereto as Exhibit No. 13 is a true and correct copy of an email chain

produced by Defendants dated July 22-28, 2015, with highlighting added by my Firm. This

document was marked as Exhibit 39 to the Mitchell Deposition.




                                               -2-
        15.    Attached hereto as Exhibit No. 14 is a true and correct copy of an email chain

produced by Defendants dated July 22, 2015. This document was marked as Exhibit 40 to the

Mitchell Deposition.

        16.    Attached hereto as Exhibit No. 15 is a true and correct copy of an email chain

produced by Defendants dated from July 28, 2015 to August 10, 2015, with highlighting added by

my Firm. This document was marked as Exhibit 41 to the Mitchell Deposition.

        17.    Attached hereto as Exhibit No. 16 is a true and correct copy of an email chain

produced by Defendants dated from July 28, 2015 to August 10, 2015. This document was marked

as Exhibit 42 to the Mitchell Deposition.

        18.    Attached hereto as Exhibit No. 17 is a document produced by Defendants relating

to the images and language on the packaging of the product at issue and comments thereto. This

documents was marked as Exh. 10 to the deposition of Angela Ellington taken on July 28, 2017

(“Ellington Deposition”).

        19.    Attached hereto as Exhibit No. 18 is a true and correct copy of an email chain

produced by Defendants dated January 9 and 22, 2014, with highlighting added by my Firm. This

document was marked as Exhibit 12 to the Ellington Depositiont.

        20.    Attached hereto as Exhibit No. 19 is a true and correct copy of the Nielsen sales

data dated March 10, 2017 as produced by Defendants, with highlighting added by my Firm.

        21.    Attached hereto as Exhibit No. 20 is a true and correct copy of an email chain

produced by Defendants dated February 18, 2015.

        22.    Attached hereto as Exhibit No. 21 is a true and correct copy of excerpts from a

document produced by Defendants titled, “Amla early trier study final report,” dated November

2013.


                                              -3-
       23.     Attached hereto as Exhibit No. 22 is a true and correct copy the Product’s

instructions produced by Defendants and marked as Exhibit 23 to the Mitchell Deposition, with

highlighting added by my Firm.

       24.     Attached hereto as Exhibit No. 23 is a true and correct copy of excerpts from a

document produced by Defendants titled, “SSC Optimum Amla Oil Concept/Product Test,” dated

November 2012, with highlighting added by my Firm. This document was marked as Exhibit 14

to the Mitchell Deposition.

       25.     Attached hereto as Exhibit 24 is a true and correct copy of an email chain produced

by Defendants dated October 24, 2014 to January 27, 2015.

       26.     Attached hereto as Exhibit 25 is a true and correct copy of a document produced

by Defendants titled, “Test Report” and dated February 8, 2013, with highlighting added by my

Firm. This was marked as Exhibit 25 to the Mitchell Deposition.

       27.     Attached hereto as Exhibit No. 26 is a true and correct copy of an email chain

produced by Defendants dated June 7, 2017.

       28.     Attached hereto as Exhibit 27 is a true and correct copy of a document marked as

Exhibit 3 to the Ellington Deposition, with highlighting added by my Firm.

       29.     Attached hereto as Exhibit 28 is a true and correct copy of a document produced

by Defendants titled, “Hair Breakage Guidelines.”

       30.     Attached hereto as Exhibit 29 is a true and correct copy of a document produced

by Defendants titled, “Amla Claims Discussion.” This was marked as Exhibit 30 to the Mitchell

Deposition




                                              -4-
       31.    Attached hereto as Exhibit No. 30 is a true and correct copy of an email chain

produced by Defendants dated August 27, 2015. This was marked as Exhibit 43 to the Mitchell

Deposition

       32.    Attached hereto as Exhibit 31 is a true and correct copy of a document produced

by Defendants titled, “AMLA next steps.”

       33.    Attached hereto as Exhibit No. 32 is a true and correct copy of an email chain

produced by Defendants dated February 4, 2014.

       34.    Attached hereto as Exhibit 33 is a true and correct copy of a document produced

by Defendants titled, “Executive Report.”


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on August 11, 2017, in New York, New York.




                                                           Michael H. Rosner




                                              -5-
